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                                 #:325496




              EXHIBIT 9
            Case 2:04-cv-09049-DOC-RNB Document 10684-9 Filed 07/11/11 Page 2 of 2 Page ID
                                             #:325497

                                                                      Your Service Center                               INVOICE
                                                                                                                  Invoice #:           88105
                                                                                                                  Invoice Date       5/31/2011
                                                                                                                  Terms                Net 30
  Tax ID # XX-XXXXXXX                                                                                             Due Date           6/30/2011
                                                                                                                  Amt Due           $112632.63
  Your complete satisfaction is very important to us. If you have any questions or concerns with your order, please contact either your
  Sales Consultant or Project Manager at your earliest convenience so that we may resolve the matter quickly.

  Bill To                                                                            Ship To
  Jeanine Pisoni, Esq.                                                               Ms. Rosa Colorado
  MGA Entertainment                                                                  MGA Entertainment
  16360 Roscoe Blvd                                                                  16360 Roscoe Blvd.
  Suite 105                                                                          Suite 105
  Van Nuys CA 91406                                                                  Van Nuys CA 91406


           Requested By                            Client Matter#                    Client Case Name           Shipped                Ship Via
          Jeanine Pisoni Esq                       MGA v Mattel                         MGA v. Mattel           6/30/2011               Local
         Sales Consultant                             Project Manager                               Tracking Numbers
         House Account (LA)                           Rastello, Kenneth

  Product or Service                                     Detailed Description       Qty Billed Price         Units Amount            Tax Code
  Recurring Monthly Fees --Relativity Logins -- May      Elizabeth Bradley (Added              2       99.00 Item            198.00 -Not Taxable-
                                                         05/05/2011)
                                                         Momo Takahashi (Added
                                                         05/05/2011)
                                                                                                                                     -Not Taxable-
  Recurring Monthly Fees --Relativity Logins -- June                                       128         99.00 Item          12,672.00 -Not Taxable-
                                                                                                                                     -Not Taxable-
  Recurring Monthly Fees--Relativity Database Hosting    Database Name: MGA            6604.175        15.00 GB            99,062.63 -Not Taxable-
  -- June                                                Documents Collected /
                                                         Documents Produced
                                                         (MGA Mattel 3rd Party)
                                                                                                                                    -Not Taxable-
  Hosted Database Setup --Relativity User Setup          WO#:                                  2     100.00 Item             200.00 -Not Taxable-
                                                         CO00426-CA0008-P001-W
                                                         00793
                                                          Date: 5/5/2011; User
                                                         Name: Elizabeth Bradley;
                                                          Date: 5/5/2011; User
                                                         Name: Momo Takahashi;
                                                                                                                                    -Not Taxable-
  Hosted Database Maintenance--Relativity - User         CO00426-CA0008-P001-W                 4     125.00 hr               500.00 -Not Taxable-
  Security Modification                                  00794
                                                           5/11/2011
                                                         CO00426-CA0008-P001-W
                                                         00795
                                                           5/11/2011
                                                                                                                                     -Not Taxable-




  PLEASE REMIT PAYMENT TO:                              Customer Service:
    Encore Discovery Solutions                              (888) 389-1658
    Dept 2651                                                                                                  Subtotal               112,632.63
    PO Box 122651                                                                                      Shipping (Local)                     0.00
    Dallas, TX 75312-2651                                                                                  Invoice Total              112,632.63
                                                                                                       AMOUNT DUE                    $112,632.63
  Received by: _______________________________________ Date: _____________
  Print Name: _______________________________________ Time: _____________           Invoice# 88105 from Encore Legal Solutions
CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                              Exhibit 9 - Page 522
